         Case 5:18-cr-00227-SLP Document 232-88 Filed 04/01/22 Page 1 of 1

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Brittany Medina (00:00):
Hello.

James Garretson (00:08):
I'm on Alta Mesa. I'm about to [inaudible 00:00:10] all over the road and everything.

Brittany Medina (00:14):
You're all over what?

James Garretson (00:15):
The road. I'm beat too. Hold on. What are you doing?

Brittany Medina (00:34):
I'm digging through my car for stuff. What do you mean, [inaudible 00:00:37].

James Garretson (00:37):
All right. I'm on Alta Mesa.

Brittany Medina (00:46):
All right. I'll [crosstalk 00:00:48] be outside waiting.

James Garretson (00:49):
All right. Bye.

James Garretson (01:07):
(silence)




2019_03_27 - Garretson and Medina (Completed 12/17/21)                                  Page 1 of 1
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                                                                                        Exhibit 88
